                               Case 18-10055-KG                    Doc 1        Filed 01/10/18            Page 1 of 29
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          Hobbico, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer                 37 – 1159545
                                           ___ ___  ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            2904 Research Road
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Champaign                  IL       61822
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Champaign
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.hobbico.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor
                                           ■
                                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor          Hobbico, Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         ■
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            4239
                                            ___ ___ ___ ___

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         ■ Chapter 11. Check all that apply:
                                         
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        ■
                                          No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          See Rider 1
      business partner or an             ■
                                          Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                             Delaware
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


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Debtor        Hobbico,   Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       ■ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                       

12.   Does the debtor own or have      ■ No
                                       
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                       ■
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                       ■
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000               ■
                                                                         $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor        Hobbico,   Inc.
              _______________________________________________________                          Case number (if known)_____________________________________
               Name



                                         $0-$50,000                        $1,000,001-$10 million                    $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                  $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                         $100,001-$500,000                 $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                         $500,001-$1 million              ■
                                                                            $100,000,001-$500 million                 More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                             01/10/2018
                                            Executed on _________________
                                                        MM / DD / YYYY


                                        8 /s/ Tom S. O'Donoghue, Jr.
                                            _____________________________________________               Tom S. O'Donoghue, Jr.
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Chief Restructuring Officer
                                            Title _________________________________________




18.   Signature of attorney
                                        8 /s/ Robert J. Dehney
                                            _____________________________________________              Date              01/10/2018
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                             Robert J. Dehney
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Morris, Nichols, Arsht & Tunnell LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            1201 N. Market Street, 16th Floor
                                            _________________________________________________________________________________________________
                                            Number      Street
                                             Wilmington
                                            ____________________________________________________            DE
                                                                                                           ____________  19899-1347
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                             (302) 658-9200
                                            ____________________________________                            rdehney@mnat.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                             3578
                                            ______________________________________________________  DE
                                                                                                   ____________
                                            Bar number                                             State




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                              RIDER 1 TO VOLUNTARY PETITION




             Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the District of Delaware for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint
administration of these cases under the case number assigned to the chapter 11 case of Hobbico,
Inc.

                  Estes-Cox Corp.
                  Hobbico, Inc.
                  Axial R/C Inc.
                  Great Planes Model Manufacturing, Inc.
                  Revell Inc.
                  Tower Hobbies, Inc.
                  United Model, Inc.




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                                       HOBBICO, INC.
                                    TOWER HOBBIES, INC.
                          GREAT PLANES MODEL MANUFACTURING, INC.
                                     UNITED MODEL, INC.
                                        REVELL INC.
                                      ESTES-COX CORP.
                                       AXIAL R/C INC.

                              ACTION OF BOARDS OF DIRECTORS
                              BY UNANIMOUS WRITTEN CONSENT

                                         January 4, 2018

        THE UNDERSIGNED, being all of the members of the Board of Directors (the
“Directors”) of each of HOBBICO, INC., an Illinois corporation (“Hobbico”), and TOWER
HOBBIES, INC., an Illinois corporation (“Tower”), GREAT PLANES MODEL
MANUFACTURING, INC., an Illinois corporation (“Great Planes”), REVELL INC., an Illinois
corporation, (“Revell”), UNITED MODEL, INC., an Illinois corporation (“United Model”),
ESTES-COX CORP., a Delaware corporation (“E-C”), and AXIAL R/C INC., a California
corporation (“Axial”), each of which is a wholly-owned subsidiary of Hobbico (Tower, Great
Planes, Revell, United Model, E-C, Axial and Hobbico are collectively referred to herein as the
“Companies”), do hereby adopt the following resolutions and take and consent to the following
actions, without a meeting, by unanimous written consent, hereby waiving any notice whatever
required in connection therewith:

Chapter 11 Filing

        WHEREAS, the Directors have considered presentations by the management and the
financial and legal advisors of the Companies regarding the liabilities and liquidity situation of
each Company, the strategic alternatives available to each Company, and the effect of the
foregoing on each Company’s business; and

       WHEREAS, the Directors had the opportunity to consult with the management and the
financial and legal advisors of each Company and fully consider each of the strategic alternatives
available to each Company.

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Directors, it is
desirable and in the best interests of each Company (including a consideration of each
Company’s creditors and other parties in interests) that, subject to the condition that the DIP
Documents (as defined below) shall have been fully agreed upon, executed and delivered by all
parties thereto in accordance with the terms hereof, each Company shall be, and hereby is,
authorized to file, or cause to be filed, a voluntary petition for relief (the “Chapter 11 Case”)
under the provisions of Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
in a court of proper jurisdiction and/or any other petition for relief or recognition or other order
that may be desirable under applicable law in the United States;




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        FURTHER RESOLVED, that, subject to the condition that the DIP Documents shall
have been executed and delivered as described above, each of the persons indicated below while
acting in the official capacity indicated below (collectively, the “Authorized Signatories”),
whether acting alone or together with one or more other officers, be, and each hereby is,
authorized, empowered and directed to (a) execute and file on behalf of each Company all
petitions, schedules, lists and other motions, papers, or documents, and (b) to take any and all
action that they deem necessary or proper to obtain such relief, including, without limitation, any
action necessary to maintain the ordinary course operation of each Company’s business:

                   Tom S. O’Donoghue Jr.       Chief Restructuring Officer
                   Louis Brownstone            President
                   Kenneth R. Cutler           Vice President
                   Timothy M. Shanahan         Treasurer and Chief Financial Officer
                   Willard K. Muirheid         Secretary


Retention of Professionals

        FURTHER RESOLVED, that each of the Authorized Signatories be, and each hereby is,
authorized and directed to employ the law firm of Neal, Gerber & Eisenberg LLP (“NGE”) as
general bankruptcy counsel to represent and assist the Companies in carrying out their duties
under the Bankruptcy Code, and to take any and all actions to advance each Company’s rights
and obligations, including filing any motions, objections, replies, applications or pleadings; and
in connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers,
and to cause to be filed an appropriate application for authority to retain the services of NGE;

       FURTHER RESOLVED, that each of the Authorized Signatories be, and each hereby is,
authorized and directed to employ the law firm of Morris, Nichols, Arsht & Tunnell LLP
(“Morris Nichols”) as local bankruptcy counsel to represent and assist the Companies in carrying
out their duties under the Bankruptcy Code, and to take any and all actions to advance each
Company’s rights and obligations, including filing any motions, objections, replies, applications
or pleadings; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Morris Nichols;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and each hereby is,
authorized and directed to employ the firm Lincoln International LLC (“Lincoln”) as investment
banker to, among other things, represent and assist each Company in analyzing available
strategic alternatives, including a potential financing transaction, restructuring transaction, or
sale transaction, and developing financial data for evaluation by the Directors, creditors, and/or
the other third parties, as requested by the Companies from time to time; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to
be filed appropriate application for authority to retain the services of Lincoln;



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        FURTHER RESOLVED, that each of the Authorized Signatories be, and each hereby is,
authorized and directed to employ Keystone Consulting Group, LLC (“Keystone”) as
restructuring advisor to each Company to represent and assist the Companies in carrying out
their duties under the Bankruptcy Code, and to take any and all actions to advance each
Company’s rights and obligations; and in connection therewith, each of the Authorized
Signatories, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Keystone;

        FURTHER RESOLVED, that (i) the retention of the firm CR3 Partners, LLC (“CR3”) as
restructuring advisor to each Company, and the appointment of Tom S. O’Donoghue Jr. as Chief
Restructuring Officer of each Company to represent and assist each Company in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance each Company’s
rights and obligations, are each hereby ratified and approved and (ii) each of the Authorized
Signatories be, and each hereby is, authorized and directed to cause to be filed an appropriate
application for authority to retain the service of CR3 and to appoint Tom S. O’Donoghue Jr. as
Chief Restructuring Officer of each Company;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and each hereby is,
authorized and directed to employ the firm of JND Corporate Restructuring (“JND”) as notice
and claims agent to represent and assist the Companies in carrying out their duties under the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed appropriate applications for authority to retain the
services of JND;

         FURTHER RESOLVED, that each of the Authorized Signatories be, and each hereby is,
authorized and directed to employ and retain any other professional advisors to represent and
assist the Companies in carrying out their duties under the Bankruptcy Code as such Authorized
Signatory deems necessary, proper or desirable in connection with the Companies’ Chapter 11
Cases, with a view to the successful prosecution of such case; and in connection therewith, each
of the Authorized Signatories, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers and fees, and to cause to be
filed appropriate applications for authority to retain the services of any such other professional
advisors, in each case on such terms as such Authorized Signatory deems necessary, proper or
desirable in connection with the Companies’ Chapter 11 Case, with a view to the successful
prosecution of such case;

       FURTHER RESOLVED, that each of the Authorized Signatories be, and each hereby is,
with power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers and, in connection therewith,
to employ and retain all assistance from legal counsel, accountants, financial advisors, and other
professional advisors, and to take and perform any and all further acts and deeds that such
Authorized Signatory deems necessary, proper, or desirable in connection with the Companies’
Chapter 11 Case, with a view to the successful prosecution of such case;



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Debtor-in-Possession Financing, Cash Collateral, and Adequate Protection

        FURTHER RESOLVED, that each Company will obtain benefits from (a) the use of
collateral, including cash collateral, as that term is defined in section 363(a) of the Bankruptcy
Code (the “Cash Collateral”), which is security for certain prepetition secured lenders
(collectively, the “Secured Lenders”) party to (i) that certain Third Amended and Restated
Credit Agreement, dated as of July 11, 2014 as amended, modified, or supplemented, and in
effect immediately prior to the filing of the voluntary petitions for relief in the Chapter 11 Case,
among the Companies, as borrowers, Wells Fargo Bank, National Association, as administrative
agent, and the lenders that are parties thereto from time to time, and to (ii) that certain Securities
Purchase Agreement, dated as of July 11, 2014 as amended, modified, or supplemented, and in
effect immediately prior the filing of the voluntary petitions for relief in the Chapter 11 Case,
among the Companies and Cyprium Investors IV AIV I LP, a Delaware limited partnership, and
(b) the incurrence of debtor-in-possession financing obligations (the “DIP Financing”);

       FURTHER RESOLVED, that in order to use and obtain the benefits of (a) the DIP
Financing and (b) the Cash Collateral, and in accordance with section 363 of the Bankruptcy
Code, the Companies will provide certain adequate protection to the Secured Lenders
(the “Adequate Protection Obligations”), as documented in a proposed interim order (as such
order may be thereafter amended or finalized, the “Interim DIP Order”) and submitted for
approval to the Bankruptcy Court;

         FURTHER RESOLVED, that the form, terms, and provisions of the Interim DIP Order to
which each Company is or will be subject, and the actions and transactions contemplated thereby
be, and hereby are authorized, adopted, and approved, and each of the Authorized Signatories of
the Companies be, and each hereby is, authorized and empowered, in the name of and on behalf
of each Company, (a) to take such actions and negotiate or cause to be prepared and negotiated
and to execute, deliver, perform, and cause the performance of, the Interim DIP Order, including
without limitation the execution and delivery of (i) a Debtor-In-Possession Credit Agreement
among the Companies, Wells Fargo Bank, National Association, as administrative agent,
swingline lender and issuing lender, and the lenders identified therein substantially in the form
presented to the undersigned for their review, (ii) a Debtor-In-Possession Pledge and Security
Agreement between the Companies and Wells Fargo Bank, National Association, as
administrative agent, substantially in the form presented to the undersigned for their review, and
(iii) such other agreements, certificates, instruments, receipts, petitions, motions, or other papers
or documents to which each Company is or will be a party, including, but not limited to, any
security and pledge agreement or guaranty agreement (collectively with the Interim DIP Order,
the “DIP Documents”), and (b) to incur and pay or cause to be paid all fees and expenses and to
engage such persons as they deem appropriate to effectuate the Interim DIP Order, in each case,
in the form or substantially in the form thereof submitted to the Directors, with such changes,
additions, and modifications thereto as the officers of each Company executing the same shall
approve, such approval to be conclusively evidenced by such officers’ execution and delivery
thereof;




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        FURTHER RESOLVED, that each Company, as debtor and debtor in possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations
and certain obligations related to the DIP Financing and to undertake any and all related
transactions on substantially the same terms as contemplated under the DIP Documents
(collectively, the “DIP Transactions”), including granting liens on its assets to secure such
obligations;

        FURTHER RESOLVED, that the Authorized Signatories of the Companies be, and they
hereby are, authorized and directed, and each of them acting alone hereby is, authorized,
directed, and empowered in the name of, and on behalf of, each Company, as debtor and debtor
in possession, to take such actions as in their discretion is determined to be necessary, desirable,
or appropriate and execute the DIP Transactions, including delivery of: (a) the DIP Documents
and such agreements, certificates, instruments, guaranties, notices, and any and all other
documents, including, without limitation, any amendments to any DIP Documents (collectively,
the “DIP Financing Documents”); (b) such other instruments, certificates, notices, assignments,
and documents as may be reasonably requested by the Agents; and (c) such forms of deposit,
account control agreements, officer’s certificates, and compliance certificates as may be required
by the DIP Documents or any other DIP Financing Document;

       FURTHER RESOLVED, that each of the Authorized Signatories of the Companies be,
and hereby are, authorized, directed, and empowered in the name of, and on behalf of, each
Company to file or to authorize the Agents to file any Uniform Commercial Code (the “UCC”)
financing statements, any other equivalent filings, any intellectual property filings and
recordation and any necessary assignments for security or other documents in the name of each
Company that the Agents deem necessary or appropriate to perfect any lien or security interest
granted under the Interim DIP Order, including any such UCC financing statement containing a
generic description of collateral, such as “all assets,” “all property now or hereafter acquired”
and other similar descriptions of like import, and to execute and deliver, and to record or
authorize the recording of, such mortgages and deeds of trust in respect of real property of each
Company and such other filings in respect of intellectual and other property of each Company, in
each case as the Agents may reasonably request to perfect the security interests of the Agents
under the Interim DIP Order;

        FURTHER RESOLVED, that each of the Authorized Signatories of the Companies be,
and hereby are, authorized, directed, and empowered in the name of, and on behalf of, each
Company to take all such further actions, including, without limitation, to pay or approve the
payment of all fees and expenses payable in connection with the DIP Transactions and all fees
and expenses incurred by or on behalf of each Company in connection with the foregoing
resolutions, in accordance with the terms of the DIP Financing Documents, which shall in their
sole judgment be necessary, proper, or advisable to perform each Company’s obligations under
or in connection with the Interim DIP Order or any of the other DIP Financing Documents and
the transactions contemplated therein and to carry out fully the intent of the foregoing
resolutions;




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General

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Signatories, each of the Authorized Signatories (and their
designees and delegates) be, and hereby are, authorized and empowered, in the name of and on
behalf of each Company, to do such further acts and things as any Authorized Signatory or such
other duly authorized person shall deem necessary or appropriate in connection with, or to carry
out the actions contemplated by, the foregoing resolutions, including to do and perform (or cause
to be done and performed), in the name and on behalf of each Company, all such acts and to
sign, make, execute, affix common seal on, deliver, issue or file (or cause to be signed, made,
executed, delivered, issued or filed) with any person including any governmental authority or
agency, all such agreements, resolutions, deeds, instruments, letters, certificates, proxies, notices,
certificates, acknowledgements, authorizations, consents, releases, waivers and other documents
(whether of like nature or not) (the “Ancillary Documents”) and all amendments and
modifications to any such Ancillary Documents, and to pay, or cause to be paid, all such
payments, as any Authorized Signatory may deem necessary or advisable in order to carry out
the intent of the foregoing resolutions, the authority for the doing of any such acts and things and
the signing, making, execution, delivery, issue and filing of such of the foregoing to be
conclusively evidenced thereby;

       FURTHER RESOLVED, that the Directors have received sufficient notice of the actions
and transactions relating to the matters contemplated by the foregoing resolutions, as may be
required by the organizational documents of each Company, or hereby waives any right to have
received such notice;

        FURTHER RESOLVED, that all actions previously taken, or caused to be taken, by the
officers of each Company in connection with the matters contemplated by the foregoing
resolutions, be, and all such actions hereby are, in all respects, ratified, approved, authorized and
confirmed; and

        FURTHER RESOLVED, that each of the undersigned hereby consents to the execution
and adoption of these resolutions by the Directors of each Company by any available means,
including, without limitation of the generality of the foregoing: (i) the execution of this
resolution in separate counterparts, and (ii) delivery by facsimile transmission or other electronic
transmission.

       IN WITNESS WHEREOF, the undersigned, constituting all of the members of the
Boards of Directors of each Company have adopted the foregoing actions by written consent,
without a meeting, effective as of the date first set forth above.

                                      [signature pages follow]




029705.0001:26801149.10                           6
Case 18-10055-KG   Doc 1   Filed 01/10/18   Page 12 of 29
Case 18-10055-KG   Doc 1   Filed 01/10/18   Page 13 of 29
Case 18-10055-KG   Doc 1   Filed 01/10/18   Page 14 of 29
Case 18-10055-KG   Doc 1   Filed 01/10/18   Page 15 of 29
Case 18-10055-KG   Doc 1   Filed 01/10/18   Page 16 of 29
Case 18-10055-KG   Doc 1   Filed 01/10/18   Page 17 of 29
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Case 18-10055-KG   Doc 1   Filed 01/10/18   Page 19 of 29
Case 18-10055-KG   Doc 1   Filed 01/10/18   Page 20 of 29
Case 18-10055-KG   Doc 1   Filed 01/10/18   Page 21 of 29
                                   Case 18-10055-KG               Doc 1        Filed 01/10/18            Page 22 of 29

      Fill in this information to identify the case:

                  Hobbico, Inc.
      Debtor name __________________________________________________________________
                                                                                 Delaware
      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: &RQVROLGDWHGList of Creditors Who Have
    the 0 Largest Unsecured Claims and Are Not Insiders                                                                                                    12/15

    A FRQVROLGDWHGlist of creditors holding the 0 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
    which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
    include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
    holders of the 0 largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
      Futaba Corp.                          Fax: 81 43-296-5124               Trade Debt                                                                 $2,265,026.91
1
      B-Wing, Nakase, Mihama-Ku             Email: info@futaba.com
      Chiba 261-01
      Japan
      Feishen                               Fax: 865-798-729-5396             Trade Debt                                                                 $1,890,326.00
2
      98 Beihu Road, Hardware Science
                                            Email:
      Technology Industrial Zone
                                            hkweb24@globalsources.com
      Yongkang, 321300 Japan
      TT Solutions, Inc.                    Fax: 866-22766366                 Trade Debt                                              $790,780.35        $1,701,488.13
3
      Guishan Dist.                         Email: info@ttsolutions.net
      Taoyuan City, TW 333
      Taiwan
      Creata Macao Commercial               Fax: 650-579-7937                                                                                            $1,355,964.41
4                                                                              Trade Debt
      Alameda Dr., Carlos No. 180           Email: info@importgenius.com
      D'Assummpcao Tong Nam Ah
      Central Comercio, China
      Drinker Biddle & Reath LLP            Fax: (312) 569-3470              Professional                                                                $1,220,497.66
5
      18th & Cherry Streets                 Email: edwin.getz@dbr.com        Services
      Philadelphia, PA 19103
      Youli Plastic Manufacture Co. Ltd.     Fax: 86-577-62767092             Trade Debt                                                                 $1,010,789.92
6
      Taishi Industrial Zone                 Email:
      Guangzhou, China                       hkweb24@globalsources.com
      Tamiya America, Inc.                   Fax: (949) 362-2250              Trade Debt                                                                   $638,420.86
7
      36 Discovery Way, Suite 200            Email:
      Irvine, CA 92618                       us_support@tamiya.com
      Flyon Electronic Co. Ltd.             Fax: 86-591-87534392              Trade Debt                                                                    $520,576.60
8
      No. 6 Jingyuan Rd.                    Email:
      Jida Zhuhai, China                    flying@flyingtechnology.com




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims                                   page 1
                                    Case 18-10055-KG                      Doc 1     Filed 01/10/18              Page 23 of 29


    Debtor
                   Hobbico, Inc.
                  _______________________________________________________                               Case number (if known)_____________________________________
                  Name




     Name of creditor and complete           Name, telephone number, and          Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor            (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                              debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                                  professional           unliquidated,   total claim amount and deduction for value of
                                                                                  services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                         Total claim, if    Deduction for       Unsecured
                                                                                                                         partially          value of            claim
                                                                                                                         secured            collateral or
                                                                                                                                            setoff

      United Parcel Service                  Fax: (800) 833-0056                  Professional                                                                    $397,428.85
9
      Lockbox 577                            Email:                               Services
      Carol Stream, IL 60132                 postalone@email.usps.gov
      Associated Electrics                   Fax: (949) 544-7501                                                                                                  $354,726.06
10                                                                                 Trade Debt
      26021 Commercentre Dr.                 Email: service@aeteam.net
      Lake Forest, CA 92630
      Guangzhou Youli Plastic Mfg. Co.       Fax: 86-20-83281117                                                                                                  $276,229.32
11                                                                                 Trade Debt
      7 The Keer Road, Taishi Industrial
                                             Email:
      Zone Dongchong Town, Panyu
                                             yanghuimin@mail.china.cn
      Guangzhou, China
      Testors Corporation                    Fax: (800) 782-3369                   Trade Debt                                                                    $258,033.10
12
      11 E. Hawthorn Parkway                 Email:
      Vernon Hills, IL 60061                 customerservice@testors.com
      Proline                                Fax: (951) 922-9311                   Trade Debt                                                                     $237,317.32
13
      201 W. Lincoln St.                     Email:
                                             customerservice@prolineracing.com
      Banning, CA 92220
      RC4WD                                  Fax: (815) 986-3819                   Trade Debt                                                                     $226,344.24
14
      618 Blossom Hill Rd., Suite 201        Email: support@rc4wd.com
      San Jose, CA 95123
      Guide Link Limited                     Fax: 852-27930762                     Trade Debt                                                                     $212,445.56
15
      Rm 507-8 5/F Kwong Sang Hong Ctr.      Email: info@glltd.com
      151-153 Hoi Bun RR
      Kwun Tong, Hong Kong
   Mile Hao                            Fax: 0860-873-619-5674                      Trade Debt                                                                     $180,482.50
16
   North Jishan Road of Miyan Town
   Mile County, Yunnan Province
   China
17
   Yitianfu Electronics Tech. Co. Ltd. Fax: 07-552-799-8073                        Trade Debt                                                                     $179,373.54
   3F, Jinchangda Technological Park
   Guanlan Town, Baoan Dist.
   Shenzhen, China
   Woodland                            Fax: (573) 346-3768                          Trade Debt                                                                    $174,841.22
18 101 E. Valley Drive
                                       Email:
   P.O. Box 98
                                       sales@woodlandscenics.com
   Linn Creek, MO 65052
   Hitec RCD USA, Inc.                 Fax: (858) 748-1767                                                                                                        $161,301.29
19                                                                                 Trade Debt
   12115 Paine Street                  Email: service@hitecrcd.com
   Poway, CA 92064

      Bachmann Industries, Inc.              Fax: (215) 744-4699                    Trade Debt                                                                    $146,293.36
20
      1400 E. Erie Ave.                      Email:
      Philadelphia, PA 19124
                                             service@bachmanntrains.com




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims                                         page 2
                                   Case 18-10055-KG                 Doc 1     Filed 01/10/18              Page 24 of 29


  Debtor
                  Hobbico, Inc.
                 _______________________________________________________                          Case number (if known)_____________________________________
                 Name




     Name of creditor and complete           Name, telephone number, and    Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor      (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                        debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,   total claim amount and deduction for value of
                                                                            services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
   Osmax                                      Fax: 81-66-704-2722            Trade Debt                                                                    $140,836.48

   6-15 3-Chome Imagawa                       Email:
   Higashisumiyoshi-Ku                        e-info@os-engines.co.jp
   Osaka, 546-0003 Japan
   Hot Racing, Inc.                          Fax: (603) 595-1498                                                                                            $136,092.28
                                                                           Trade Debt
   26 Clinton Dr., Suite 119                 Email:
   Hollis, NH 03049
                                             help@hot-racing.com
      Shanghai Merit Technology               Fax: 86-215-779-3769           Trade Debt                                                                    $132,773.92
    No. 1058 Tao Gan Road, Sheshan          Email:
      Town, Songjiang District
                                              sales@meritrc.com
      Shanghai, 201602, China
      Redcat Racing                           Fax: (602) 626-3534            Trade Debt                                                                    $111,284.37

      3145 E. Washington St.                  Email:
      Phoenix, AZ 85034                       support@redcatracing.com

      LSC Communications US, LLC             Fax: (540) 564-9572            Professional                                                                   $108,817.71

      191 N. Upper Wacker Dr.                Email:                         Services
      Chicago, IL 60606
                                             brett.vonholten@lsccom.com
      Xing Yu                                 Fax: 86-756-522-5600                                                                                           $96,947.99
                                                                           Trade Debt
      No. 25 Bai Jiao South Road              Email:
      Bai Jiao Science & Tech Ind. Area       cs@xy-aviation.com
      Zhuahai, 51912 China
      Phoenix Models                          Fax: 84-8-37173026                                                                                             $95,655.00
                                                                            Trade Debt
      223 Bis Hai Ba Trung Street, Dist 3     Email:
      Ho Chi Ming City, Vietnam               contact@phoenixmodel.com
                                              robert@phoenixmodel.com
      Landing Products                        Fax: (530) 666-6661            Trade Debt                                                                       $93,353.08
                                           Email:
      1222 Harter Ave.
                                             customer-service@apcprop.com
      Woodland, CA 95776

      Maisto International, Inc.              Fax: (909) 357-2020            Trade Debt                                                                      $88,392.52

      7751 Cherry Avenue
      Fontana, CA 92336
      Tag Along Associates, LP                Fax: (217) 367-1616           Landlord                                                                         $88,303.30

      2805 South Boulder Dr.
      Urbana, IL 61802




  Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims                                   page 2
                                  Case 18-10055-KG                Doc 1          Filed 01/10/18              Page 25 of 29

 Fill in this information to identify the case and this filing:


              Hobbico, Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (,INQRZQ):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             6FKHGXOH$%$VVHWV±5HDODQG3HUVRQDO3URSHUW\ (Official Form 206A/B)

             6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\ (Official Form 206D)

             6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV (Official Form 206E/F)

             6FKHGXOH*([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHV (Official Form 206G)

             6FKHGXOH+&RGHEWRUV(Official Form 206H)

             6XPPDU\RI$VVHWVDQG/LDELOLWLHVIRU1RQ,QGLYLGXDOV (Official Form 206Sum)

             Amended 6FKHGXOH ____

         ■
             &KDSWHURU&KDSWHU&DVHV&RQVROLGDWHG/LVWRI&UHGLWRUV:KR+DYHWKH/DUJHVW8QVHFXUHG&ODLPVDQG$UH1RW,QVLGHUV


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    01/10/2018
        Executed on ______________                         8 /s/ Tom S. O'Donoghue, Jr.
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Tom S. O'Donoghue, Jr.
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
               Case 18-10055-KG        Doc 1     Filed 01/10/18      Page 26 of 29



                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

HOBBICO, INC.,                                          Case No. 18-______ (___)

                                    Debtor.             (Joint Administration Requested)



                         LIST OF EQUITY SECURITY HOLDERS


       Following is the list of debtor Hobbico, Inc.’s equity holders. This list has been prepared
in accordance with Fed. R. Bankr. P. 1007(a)(3) for filing in this chapter 11 case.



         Name and Last Known Address of                     Nature of              Number of
             Equity Security Holder                       Interest Held          Interests Held

GreatBanc Trust Company, as Trustee of the                Common Stock                100%
Hobbico, Inc. Employee Stock Ownership Plan
801 Warrenville Road, Suite 500
Lisle, IL 60532




26900432.1
                                  Case 18-10055-KG                Doc 1          Filed 01/10/18              Page 27 of 29

 Fill in this information to identify the case and this filing:


              Hobbico, Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ■
                                                       List of Equity Security Holders
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    01/10/2018
        Executed on ______________                         8 /s/ Tom S. O'Donoghue, Jr.
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Tom S. O'Donoghue, Jr.
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                 Case 18-10055-KG       Doc 1     Filed 01/10/18      Page 28 of 29



                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                   Chapter 11

HOBBICO, INC.,                                           Case No. 18-______ (___)

                                     Debtor.             (Joint Administration Requested)



         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT TO
          FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007(a)(1) AND 7007.1

      Pursuant to Rule 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedures,
Hobbico, Inc. and its affiliated entities hereby state:


         Hobbico, Inc. is 100% owned by GreatBanc Trust Company, as Trustee of the Hobbico,
          Inc. Employee Stock Ownership Plan.

         Axial R/C Inc., Estes-Cox Corp., Great Planes Model Manufacturing, Inc., Revell Inc.,
          Tower Hobbies, Inc., and United Model, Inc. are each 100% owned by Hobbico, Inc.




26871644.1
                                  Case 18-10055-KG                Doc 1          Filed 01/10/18              Page 29 of 29

 Fill in this information to identify the case and this filing:


              Hobbico, Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         ■
                                                       Consolidated Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    01/10/2018
        Executed on ______________                         8 /s/ Tom S. O'Donoghue, Jr.
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Tom S. O'Donoghue, Jr.
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
